       Case 3:22-cv-00211-SDD-SDJ         Document 250      07/17/23 Page 1 of 1




                         UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, ET AL                                         CIVIL ACTION

VERSUS
                                                              NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                     CIVIL ACTION

VERSUS
                                                              NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


                                       ORDER


     The Court held a telephone status conference on July 12, 2023.

      The parties filed Notices of their respective positions regarding the continuation of

these proceedings following the stay lifted by the United States Supreme Court.

      The Court ORDERS that the preliminary injunction hearing stayed by the United

States Supreme Court, and which stay has been lifted, be and is hereby reset to October

3-5, 2023, at 9:00 a.m. in Courtroom Three.

      The parties shall meet and confer and jointly submit a proposed pre-hearing

scheduling order on or before Friday July 21, 2023.

      Signed in Baton Rouge, Louisiana, on July 17, 2023.



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                                    CHIEF JUDGE SHELLY D. DICK
                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA
